
WHEREAS, the opinion rendered by this Court on December 12, 1989, (554 So.2d 564), affirmed in part and reversed in part the judgment of convictions of the Circuit Court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this Court’s opinion, by Petition for Review, the Supreme Court of Florida, by its opinion filed September 6, 1990 (568 So.2d 902), and its mandate now lodged in this Court, quashed this Court’s opinion;
NOW THEREFORE, this Court withdraws its mandate issued in this cause on March 16, 1990 vacates its opinion filed in the cause on December 12, 1989 adopts, as its own, the opinion of the Supreme Court of Florida and remands to the trial court for further proceedings in accordance with the opinion of the Supreme Court. Costs allowed shall be taxed in the trial court pursuant to Florida Rule of Appellate Procedure 9.400(a).
